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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                    Hon. Katharine S. Hayden

             v.                              Crim. No.     03-844-21

 TERRANCE JONES,                             ORDER AMENDING PETITION
    a/k/a "TERRANCE OLIVER"



             This matter having been raised in open Court on

 December 11, 2012 upon the application of Defendant Terrance

 Jones, also known and named in the January 23, 2012 Petition for

 Violation of Supervised Release as Terrance Oliver (Linwood

 Jones, Esq., appearing), for an order amending and correcting the

 Petition to reflect Defendant's true name, and Paul J. Fishman,

 United States Attorney for the District of New Jersey (Serina M.

 Vash, Assistant U.S. Attorney, appearing) having consented to the

 same; and

             It appearing that the true name of Defendant "Terrance

 Oliver" is Terrance Jones; and

             It further appearing that both names "Terrance Oliver"

 and "Terrance Jones" appeared in Indictment No. 03-844-21; and

             It further appearing that amending and correcting the

 Petition for Violation of Supervised Release, for underlying

 Indictment No. 03-844-21, to reflect Defendant's true name would

 not prejudice any substantial rights of the Defendant; and
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             It further appearing that amending and correcting the

 Petition for Violation of Supervised Release to reflect

 Defendant's true name is an amendment as to form only:

             IT IS on this    I ~-day of December, 2012,
             ORDERED that Defendant's application be, and is hereby,

 GRANTED; and it is further

             ORDERED that the January 23, 2012 Petition for

 Violation of Supervised Release be, and is hereby, amended and

 corrected to reflect Defendant's true name; and it is further

             ORDERED that the name "Terrance Oliver" in the January

 23, 2012 Petition for Violation of Supervised Release be, and is

 hereby, corrected and amended to "Terrance Jones, a.k.a. Terrance

 Oliver" and all further proceedings and papers filed or otherwise

 submitted to the Court in this matter shall reflect the same.

             So ORDERED.




                                        HONORABLE_  THARINE S. HAYDEN
                                        United States District Judge
